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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

KAREEM HAMILTON,

Defendant.                                                No. 05-30015-DRH

                                     ORDER

HERNDON, Chief Judge:

             Kareem Hamilton is serving 292 month sentence which was imposed on

this Court on March 24, 2006 (see Doc. 295). On April 9, 2008, Hamilton filed a

motion for retroactive application of sentencing guidelines to crack cocaine offense

pursuant to 18 U.S.C. § 3582 (Doc. 655) and a motion to appoint counsel (Doc.

656). The Court appointed counsel to represent Hamilton, and counsel has now

moved to withdraw on the basis that he can make no non-frivolous arguments in

support of a reduction pursuant to 18 U.S.C. § 3582(c) (Doc. 745). See Anders v.

California, 386 U.S. 738, 744 (1967). Hamilton was given thirty (30) days in

which to respond to the motion; as of this date Hamilton has filed no response.

             Section 3582(c)(2) allows the Court to reduce a defendant’s previously

imposed sentence where “a defendant...has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by

the Sentencing Commission pursuant to 28 U.S.C. 944(o).” In doing so, the Court

must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure that any
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reduction “is consistent with applicable policy statements issued by the Sentencing

Commission.”     18 U.S.C. § 3582(c)(2).      Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing

Commission must have lowered the applicable guideline sentencing range, and (2)

the reduction must be consistent with the applicable policy statements issued by the

Sentencing Commission. If the defendant cannot satisfy the first criterion, the Court

has no subject matter jurisdiction to consider the reduction request. United States

v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir. 2009), cert. denied sub nom McKnight

v. United States, 129 S.Ct. 1924 (2009).

              Hamilton is not entitled to a reduction in his sentence because he cannot

satisfy the first criterion of that statute; he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by

the Sentencing Commission pursuant to 28 U.S.C. § 994(o).”               18 U.S.C. §

3582(c)(2).    Amendments 706 and 711 amended U.S.S.G. § 2D1.1(c) as of

November 1, 2007, to lower by two points the base offense levels associated with

various amounts of crack cocaine. The Sentencing Commission amended U.S.S.G.

§ 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. Hamilton, however, was sentenced based on his

base offense level set forth in U.S.S.G. § 4B1.1 (“Career Offender”), not his base

offense level set forth in U.S.S.G. § 2D1.1. See Forman, 553 F.3d at 589-90.


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Thus, his guideline range has not been lowered, and he cannot satisfy the first

criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence reduction.

            The Court has confirmed the representations in counsel’s motion to

withdraw and agrees that Hamilton is not entitled to a reduction in sentence for the

reasons just mentioned. It would serve no purpose to appoint further counsel for

Hamilton on this issue.

            The Court therefore GRANTS counsel’s motion to withdraw (Doc. 745),

and DISMISSES for lack of jurisdiction the motion for a sentence reduction (Doc.

655), and DENIES the motion to appoint counsel (Doc. 656).

                          IT IS SO ORDERED.

            Signed this 30th day of March, 2010.



                                             /s/   DavidRHer|do|
                                             Chief Judge
                                             United States District Court




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